          Case 1:17-cv-11441-PBS Document 58 Filed 08/17/18 Page 1 of 2



                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS


STEPHEN F. CASS,
     Plaintiff,

v.
                                                            C.A. NO. 1:17-cv-11441
TOWN OF WAYLAND, WAYLAND PUBLIC
SCHOOLS, WAYLAND POLICE DEPARTMENT,
PAUL STEIN, BRAD CROZIER, ALLYSON
MIZOGUCHI, and JAMIE BERGER,
     Defendants.


                                NOTICE OF WITHDRAWAL

        Please withdraw the appearance of Ryan A. Rucki as attorney for the Plaintiff, Stephen F.

Cass, in this case. Mr. Rucki’s employment with Torres, Scammon, Hincks & Day, LLP ended

on May 25, 2018. Due to an inadvertent oversite, Mr. Rucki failed to file a notice of withdrawal

in this matter.

        Please note that Benjamin L. Hincks, Krsisten S. Scammon, Samuel L. Martin and the

law firm of Torres, Scammon, Hincks & Day, LLP are currently counsel to Plaintiff, Stephen F.

Cass.

                                             Respectfully submitted,

                                             Ryan A. Rucki,



                                             /s/ Ryan A. Rucki
                                             Ryan A. Rucki (BBO# 680227)
                                             KENNEY & SAMS, P.C.
                                             Old City Hall
                                             45 School Street
                                             Boston, MA 02108
                                             T: (508) 490-8500
                                             E: rarucki@kandslegal.com
          Case 1:17-cv-11441-PBS Document 58 Filed 08/17/18 Page 2 of 2



                                 CERTIFICATE OF SERVICE

       I hereby certify that the foregoing, filed through the Electronic Case Filing
System, will be sent electronically to the registered participants as identified on the
Notice of Electronic Filing on August 17, 2018.

                                               /s/ Ryan A. Rucki
                                               Ryan A. Rucki
